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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                             )
In re:                                                       )   Chapter 11
                                                             )
ION MEDIA NETWORKS, INC., et al.,                            )   Case No. 09-13125 (JMP)
                                                             )
                          Debtors.                           )   Jointly Administered
                                                             )
                                                             )   Re: Docket No. [439]

                           ORDER PURSUANT TO
          SECTION 1121(D) OF THE BANKRUPTCY CODE EXTENDING
       THE EXCLUSIVE PERIODS DURING WHICH ONLY THE DEBTORS
     MAY FILE A CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF

         Upon the motion (the “Motion”)1 of ION Media Networks, Inc. (“ION”) and its debtor

affiliates, as debtors and debtors in possession (collectively, the “Debtors”),2 for entry of an


1
    Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion.
2
    The Debtors in these chapter 11 cases are: ION Media Networks, Inc.; America 51, L.P.; ION Media Akron
    License, Inc.; ION Media Albany License, Inc.; ION Media Atlanta License, Inc.; ION Media Battle Creek
    License, Inc.; ION Media Boston License, Inc.; ION Media Brunswick License, Inc.; ION Media Buffalo
    License, Inc.; ION Media Charleston License, Inc.; ION Media Chicago License, Inc.; ION Media Dallas
    License, Inc.; ION Media Denver License, Inc.; ION Media Des Moines License, Inc.; ION Media
    Entertainment, Inc.; ION Media Greensboro License, Inc.; ION Media Greenville License, Inc.; ION Media
    Hartford License, Inc.; ION Media Hawaii License, Inc.; ION Media Hits, Inc.; ION Media Holdings, Inc.;
    ION Media Houston License, Inc.; ION Media Indianapolis License, Inc.; ION Media Jacksonville License,
    Inc.; ION Media Kansas City License, Inc.; ION Media Knoxville License, Inc.; ION Media Lexington License,
    Inc.; ION Media License Company, LLC; ION Media Los Angeles License, Inc.; ION Media LPTV, Inc.;
    ION Media Management Company.; ION Media Martinsburg License, Inc.; ION Media Memphis License, Inc.;
    ION Media Milwaukee License, Inc.; ION Media Minneapolis License, Inc.; ION Media New Orleans License,
    Inc.; ION Media of Akron, Inc.; ION Media of Albany, Inc.; ION Media of Atlanta, Inc.; ION Media of Battle
    Creek, Inc.; ION Media of Birmingham, Inc.; ION Media of Boston, Inc.; ION Media of Brunswick, Inc.; ION
    Media of Buffalo, Inc.; ION Media of Cedar Rapids, Inc.; ION Media of Charleston, Inc.; ION Media of
    Chicago, Inc.; ION Media of Dallas, Inc.; ION Media of Denver, Inc.; ION Media of Des Moines, Inc.;
    ION Media of Detroit, Inc.; ION Media of Fayetteville, Inc.; ION Media of Greensboro, Inc.; ION Media of
    Greenville, Inc.; ION Media of Hartford, Inc.; ION Media of Honolulu, Inc.; ION Media of Houston, Inc.; ION
    Media of Indianapolis, Inc.; ION Media of Jacksonville, Inc.; ION Media of Kansas City, Inc.; ION Media of
    Knoxville, Inc.; ION Media of Lexington, Inc.; ION Media of Los Angeles, Inc.; ION Media of Louisville, Inc.;
    ION Media of Martinsburg, Inc.; ION Media of Memphis, Inc.; ION Media of Miami, Inc.; ION Media of
    Milwaukee, Inc.; ION Media of Minneapolis, Inc.; ION Media of Nashville, Inc.; ION Media of New Orleans,
    Inc.; ION Media of New York, Inc.; ION Media of Norfolk, Inc.; ION Media of Oklahoma City, Inc.; ION
    Media of Orlando, Inc.; ION Media of Philadelphia, Inc.; ION Media of Phoenix, Inc.; ION Media of Portland,
    Inc.; ION Media of Providence, Inc.; ION Media of Raleigh, Inc.; ION Media of Roanoke, Inc.; ION Media of
    Sacramento, Inc.; ION Media of Salt Lake City, Inc.; ION Media of San Antonio, Inc.; ION Media of San Jose,
                                                                                                  (Continued…)
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order (the “Order”), pursuant to section 1121(d) of title 11 of the United States Code (the

“Bankruptcy Code”) extending by 120 days (i) the exclusive period of time during which only

the Debtors may file a plan of reorganization (the “Excusive Filing Period”) through and

including April 14, 2010 and (ii) the period of time during which only the Debtors may solicit

acceptances of a plan of reorganization (the “Exclusive Solicitation Period,” and, together with

the Exclusive Filing Period, the “Exclusive Periods”) through and including June 14, 2010, all as

more fully described in the Motion; and the Court having jurisdiction to consider this Motion and

the relief requested therein in accordance with 28 U.S.C §§ 157 and 1334 and the Standing Order

M-61 Referring Bankruptcy Judge for the Southern District of New York Any and All

Proceedings Under Title 11, dated July 10, 1984 (Ward, Acting C.J.); and consideration of the

Motion    and    the   relief   requested     therein    being    a   core    proceeding      pursuant     to

28 U.S.C. § 157(b)(2); and venue being proper before this Court pursuant to 28

U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion being adequate and

appropriate under the particular circumstances; and a hearing having been held on December 9,

2009 to consider the relief requested in the Motion (the “Hearing”); and upon the record of the

Hearing and all proceedings had before the Court; and the Court having found and determined


   Inc.; ION Media of Scranton, Inc.; ION Media of Seattle, Inc.; ION Media of Spokane, Inc.; ION Media of
   Syracuse, Inc.; ION Media of Tampa, Inc.; ION Media of Tulsa, Inc.; ION Media of Washington, Inc.; ION
   Media of Wausau, Inc.; ION Media of West Palm Beach, Inc.; ION Media Oklahoma City License, Inc.; ION
   Media Orlando License, Inc.; ION Media Philadelphia License, Inc.; ION Media Portland License, Inc.; ION
   Media Publishing, Inc.; ION Media Raleigh License, Inc.; ION Media Sacramento License, Inc.; ION Media
   Salt Lake City License, Inc.; ION Media San Antonio License, Inc.; ION Media San Jose License, Inc.; ION
   Media Scranton License, Inc.; ION Media Songs, Inc.; ION Media Spokane License, Inc.; ION Media Syracuse
   License, Inc.; ION Media Television, Inc.; ION Media Tulsa License, Inc.; ION Media Washington License,
   Inc.; ION Media Wausau License, Inc.; ION Media West Palm Beach Holdings, Inc.; ION Media West Palm
   Beach License, Inc.; ION Television Net, Inc.; Ocean State Television, L.L.C.; Open Mobile Ventures
   Corporation. The location of the corporate headquarters for all Debtors except ION Media of New York, Inc.
   is: 601 Clearwater Park Road, West Palm Beach, Florida 33401-6233. The location of the corporate
   headquarters for ION Media of New York, Inc. and the service address for all of the Debtors is: 1330 Avenue
   of the Americas, New York, New York 10019.




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that the relief sought in the Motion is in the best interests of the Debtors’ estates, their creditors

and other parties in interest and that the legal and factual bases set forth in the Motion establish

just cause for the relief granted herein; and any objections to the requested relief having been

withdrawn or overruled on the merits; and after due deliberation and sufficient cause appearing

therefor, it is hereby ORDERED:

       1.        The Motion is granted to the extent provided herein.

       2.        The Debtors’ Exclusive Filing Period is extended by 120 days through and

including April 14, 2010.

       3.        The Debtors’ Exclusive Solicitation Period is extended through and including

June 14, 2010.

       4.        This Order is without prejudice to the Debtors’ ability to seek further extensions

of the Exclusive Periods pursuant to section 1121(d) of the Bankruptcy Code.

       5.        The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

       6.        Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,

and 9014 or otherwise, the terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       7.        The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.


Dated: New York, New York
       December 10, 2009
                                                 s/ James M. Peck
                                               HONORABLE JAMES M. PECK
                                               UNITED STATES BANKRUPTCY JUDGE




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